Case 5:18-cr-00061-gwc Document 22-5 Filed 02/04/19 Page 1 of 19

EXHIBIT C
Case 5:18-cr-00061-gwc Document 22-5 Filed 02/04/19 Page 2 of 19

AO 106 (Rev. 04/10) Application for a Search Warrant

UNITED STATES DISTRICT COURT

DISTRICT GF VERMONT
FILED

for the AUG APR-3 AMIE G4
District of Vermont
CLERK
In the Matter of the Search of ) BY "
iefly describe the b hed : SSS ST hae
Briefe descr person bp ndine ond when) ; Case No. 2 : IS-M . ape PUTY GLERK

US. First-Class parcel nos. 95001 15375968088093256, ;
95001 15375968088093270, 95001 13375968088093263, )

95055 15375968088093303, 9505515375968088093297,
and 9505515375968088093280 APPLICATION FOR A SEARCH WARRANT

I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
Property to be searched and give its location):

See Attachment A.
located in the Districtof Vermont , there is now concealed (identify the
Person or describe the property to be seized):
co

See Attachment B.

The basis for the search under Fed. R. Crim. P. 41(c) is (check one ar more):
ow evidence of a crime;
of contraband, fruits of crime, or other items illegally possessed;
oe Property designed for use, intended for use, or used in committing a crime;
0 a person to be arrested or a person who is unlawfully restrained.

The search is related to a violation of:

Code Section Offense Description
21 U.S.C. §§ 841(a)(1) & 846 Possessing with intent to distribute, distributing, and conspiring to possess with

intent to distribute and to distribute, controlled substances.

The application is based on these facts:

See attached Affidavit. -
os Continued on the attached sheet.
O Delayed notice of days (give exact ending date if more than 30 days: ) is requested
under 18 U.S.C. § 3103a, the basis of which is set forth on th attached sheet, ~
t
} AV retour,
(] Applicant's signature
/ Jonathan Dunham, U.S. Postal Inspector
Printed name and title

Sworn to before me and signed in my presence.
vw: OF 03 [20
¥ v

City and state: Burlington, Vermont

Hon. John M. Conroy, U.S. Magistrate Judge

Printed name and title

00000218
Case 5:18-cr-00061-gwc Document 22-5 Filed 02/04/19 Page 3 of 19

ATTACHMENT A

Ttem to be Searched:

Subject Parcel #1: The following First-Class parcel, presently in the possession of the U.S.

Postal Inspection Service at 8 New England Drive, Essex Junction, VT 05452:

First-Class Parcel Number: 9500115375968088093256
Sender Name and Address: William Currier

462 Railroad Street

Saint Johnsbury, VT 05819
Recipient Name and Address: Fred Lejeune

1936 Lombard Street

New Orleans, LA 70122
Parcel Weight: 0 pounds, 0.40 ounces

Attachment A

00000219
Case 5:18-cr-00061-gwc Document 22-5 Filed 02/04/19 Page 4 of 19

Subject Parcel #2: The following First-Class parcel, presently in the possession of the U.S.

Postal Inspection Service at 8 New England Drive, Essex Junction, VT 05452:

First-Class Parcel Number: 9500115375968088093270
Sender Name and Address: William Currier
462 Railroad Street
Saint Johnsbury, VT 05819
Recipient Name and Address: Brian Carlberg
12737 Saint Andrews Drive

Kansas City, MO 64145-1146

Parcel Weight: 0 pounds, 0.40 ounces

Attachment A

00000220
Case 5:18-cr-00061-gwc Document 22-5 Filed 02/04/19 Page 5 of 19

Subject Parcel #3: The following First-Class parcel, presently in the possession of the U.S.

Postal Inspection Service at 8 New England Drive, Essex Junction, VT 05452:

First-Class Parcel Number: 9500115375968088093263
Sender Name and Address: William Currier

462 Railroad Street
Saint Johnsbury, VT 05819

Recipient Name and Address: Kodus Hollon
170 Ashiey Creek Drive
Newnan, GA 30263

Parcel Weight: 0 pounds, 0.40 ounces

Attachment A

00000221
Case 5:18-cr-00061-gwc Document 22-5 Filed 02/04/19 Page 6 of 19

Subject Parcel #4: The following U.S. Priority Mail parcel, presently in the possession of the

U.S. Postal Inspection Service at 8 New England Drive, Essex Junction, VT 05452:

First-Class Parcel Number: 9505515375968088093303

Sender Name and Address: William Currier

462 Railroad Street

Saint Johnsbury, VT 05819
Recipient Name and Address: David Perez

208 Cartwell Drive

Virgina Beach, VA 23452-1422

Parcel Weight: 3 pounds, 14.20 ounces

Attachment A

00000222
Case 5:18-cr-00061-gwc Document 22-5 Filed 02/04/19 Page 7 of 19

Subject Parcel #5: The following U.S. Priority Mail parcel, presently in the possession of the

U.S. Postal Inspection Service at 8 New England Drive, Essex Junction, VT 05452:

First-Class Parcel Number:

Sender Name and Address:

Recipient Name and Address:

Parcel Weight:

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9505515375968088093297

William Currier
462 Railroad Street
Saint Johnsbury, VT 05819

Alex Guariglia
49] Vizcay Way
Davenport, FL 33837-2618

0 pounds, 2.60 ounces

Attachment A

00000223
Case 5:18-cr-00061-gwc Document 22-5 Filed:02/04/19 Page 8 of 19

Subject Parcel #6: The following U.S. Priority Mail parcel, presently in the possession of the

U.S. Postal Inspection Service at 8 New England Drive, Essex Junction, VT 05452:

First-Class Parcel Number: 9505515375968088093280

Sender Name and Address: William Currier
462 Railroad Street
Saint Johnsbury, VT 05819
Recipient Name and Address: _Jonathan Tipton
426 Elgin Street,

Mooringsport, LA 71060-8960

Parcel Weight: 0 pounds, 2.60 ounces

PRIORITY MAIL 2-Day ®
USPS TRACKING NUMBER

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eS Expected Delivery Day: 09/31/2018

aS
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Attachment A

00000224
Case 5:18-cr-00061-gwc Document 22-5 Filed 02/04/19 Page 9 of 19

ATTACHMENT B

ITEMS TO BE SEIZED

1, Any and all evidence and/or instrumentalities of violations of Title 21 U.S.C. §§
841(a}(1), 843(b) and 846, distribution of controlled substances, possession with intent to
distribute controlled substances, and conspiracy to possess with intent to distribute and to

distribute controlled substances, including the following:

a. Controlled substances, substances suspected to be controlled substances, drug
processing and packaging material, cutting agents, and drug paraphernalia and literature;
b. Money, including cash or other financial instruments, and/or any records of
financial transfers, sales or purchases;

and

c. Any and all information, in whatever form located, identifying the true sender of
the packages, the nature of any payment for the materials shipped, the identity of the
intended recipient, the nature or manner of the communications and relationship between
shipper and recipient, and/or the involvement of any other individuals in obtaining,

possession and/or shipping controlled substances.

Attachment B

00000225
Case 5:18-cr-00061-gwc Document 22-5 Filed 02/04/19 Page 10 of 19

AFFIDAVIT
I, Jonathan Dunham, after being duly swom, depose and state as follows:
INTRODUCTION AND BACKGROUND

1. I am a Postal Inspector employed by the U.S. Postal Inspection Service and
assigned to the Boston Division. The Boston Division has responsibility for Postal Inspection
Service investigations in Massachusetts, New York, Vermont, Connecticut, New Hampshire,
Maine, and Rhode Island. I have been employed by the Inspection Service for one year, and am
currently assigned to the Burlington, Vermont Domicile,

2. I am an investigative or law enforcement officer of the United States within the
meaning of 18 U.S.C. §2510(7), in that I am empowered by law to conduct investigations and to
make arrests for federal offenses.

3. My training and experience includes a Bachelor of Science degree in Criminal
Justice, a Bachelor of Art degree in Psychology, a certificate in Homeland Security, and a
Master’s degree in Criminal Justice from Westfield State University; Postal Inspector Basic
Training at Potomac, Maryland; and Postal Inspector Post-Basic Training at Burlington,
Vermont. During the course of my employment with the Postal Inspection Service, I have
conducted or participated in criminal investigations, including incidents where the U.S. Mail was
used for the purpose of possessing with intent to distribute, distributing, and conspiring to
possess with intent to distribute and to distribute, controlled substances, in violation of Title 21 ;
U.S.C. §§ 841(a)(1) and 846.

4. The information contained in this affidavit is based upon my personal

observations, my training and experience, my own investigation, and the investigation of other

00000226
Case 5:18-cr-00061-gwc Document 22-5 Filed 02/04/19 Page 11 of 19

law enforcement officers, including but not limited to, Homeland Security Investigations (HSI)
Agent Jamie West, with whom I have consulted.

5. Because this affidavit is submitted for the limited purpose of establishing
probable cause in support of the application for the search warrant, it does not set forth every fact
that I or others have learned during the course of this investigation.

ITEMS TO BE SEARCHED

6. I submit this affidavit in support of an application for a warrant to search the
following parcels (hereinafter referred to as the Subject Parcels) which were placed in the U.S.
mail at the Danville, VT Post Office on March 29, 2018:

a. USS. First-Class parcel number 9500115375968088093256, mailed to
“Fred LeJeune, 1936 Lombard Street, New Orleans, LA 70122,” from sender “William Currier,
462 Railroad Street, Saint Johnsbury, VT 05819” (“Subject Parcel #1”), for evidence or
instrumentalities of violations of Title 21 U.S.C. §§ 841(a)(1), and 846. Subject Parcel #1
weighs 0 pounds, 0.40 ounces and is further described in Attachment A,

b. U.S. First-Class parcel number 95001 15375968088093270, mailed to
“Brian Carlberg, 12737 Saint Andrews Drive, Kansas City, MO 64145-1146” from sender
“William Currier, 462 Railroad Street, Saint Johnsbury, VT 05819” (“Subject Parcel #2”), for
evidence or instrumentalities of violations of Title 21 U.S.C. §§ 841(a)(1), and 846. Subject
Parcel #2 weighs 0 pounds, 0.40 ounces and is further described in Attachment A.

c. U.S. First-Class parcel number 9500115375968088093263, mailed to
“Kodus Hollon, 170 Ashley Creek Drive, Newnan, GA 30263” from sender “William Currier,

462 Railroad Street, Saint Johnsbury, VT 05819” (“Subject Parcel #3”), for evidence or

00000227
Case 5:18-cr-00061-gwc Document 22-5 Filed 02/04/19 Page 12 of 19

instrumentalities of violations of Title 21 U.S.C. §§ 841(a)(1), and 846. Subject Parcel #3
weighs 0 pounds, 0.40 ounces and is further described in Attachment A.

d. U.S. Priority Mail parcel number 9505515375968088093303, mailed to
“David Perez, 208 Cartwell Drive, Virginia Beach, VA 23452-1422,” from sender “William
Currier, 462 Railroad Street, Saint Johnsbury, VT 05819” (“Subject Parcel #4”), for evidence or
instrumentalities of violations of Title 21 US.C. §§ 841(a)(1), and 846. Subject Parcel #4
weighs 3 pounds, 14.20 ounces and is further described in Attachment A.

€. U.S. Priority Mail parcel number 9505515375968088093297, mailed to
“Alex Guariglia, 491 Vizcay Way, Davenport, FL 33837-2618,” from sender “William Currier,
462 Railroad Street, Saint Johnsbury, VT 05819” (“Subject Parcel #5”), for evidence or
instrumentalities of violations of Title 21 U.S.C. §§ 841(a)(1), and 846. Subject Parcel #5
weighs 0 pounds, 2.60 ounces and is further described in Attachment A.

f. U.S. Priority Mail parcel number 9505515375968088093280, mailed to
“Jonathan Tipton, 426 Elgin Street, Mooringsport, LA 71060-8960,” from sender “William
Currier, 462 Railroad Street, Saint Johnsbury, VT 05819” (“Subject Parcel #6”), for evidence or
instrumentalities of violations of Title 21 U.S.C. §§ 841(a)(1), and 846. Subject Parcel #6
weighs 0 pounds, 2.60 ounces and is further described in Attachment A.

7. The parcels are presently in the possession of the U.S. Postal Inspection Service at

8 New England Drive, Essex Junction, VT 05452.

PROBABLE CAUSE

8. On March 30, 2018, Agent West relayed the following information to me as it

related to the case prior to my involvement:

00000228
Case 5:18-cr-00061-gwe Document 22-5 Filed 02/04/19 Page 13 of 19

a. US. Postal Inspector Kristin Miller discovered, and informed Agent West
that a large quantity of U.S. Postal Service (USPS) Priority Mail shipping boxes had been
ordered and received at P.O. Box 22 at the East Burke, Vermont, Post Office (“P.O. Box 22”).
Based on my training and experience, I’m aware that shippers of contraband items often order
shipping boxes through the mail. According to the application for P.O. Box 22, it is registered to
Tracy Baker of 3585 Darling Hill Road, East Burke, VT. The application also lists Sammy Bent,
Isabella Sepulveda-Muniz, Chelsea Baker, and Sammy Bent Jr. as additional names authorized
to accept mail at P.O. Box 22.

b. Baker listed a vehicle with a Vermont license plate DSK573 on the
application for P.O. Box 22. Based on Department of Motor Vehicle (“DMV”) records, Agent
West found that this vehicle is a 2013 Blue Honda CRV and is registered to Tracy Baker. Agent
West also obtained Baker’s DMV photograph.

c. On March 19, 2018, Agent West observed a Honda CRV matching the
description of Baker’s vehicle, and a Honda Accord with a RI license plate number CN117 in the
driveway of 3585 Darling Hill Road, East Burke, VT 05851.

d. On March 20, 2018, Agent West saw the Honda CRV at the East Burke,
VT Post Office. He also saw a white female matching the description of Tracy Baker, based on
the review of Baker’s DMV photograph. Later that day he also observed the previously
observed Honda Accord and Honda CRV at the same residence. Later that day, Agent West >
spoke to Postmaster Nancy Cote at the East Burke, VT Post Office. Cote stated that P.O. Box 22
received multiple international and domestic parcels. The international parcels were small and
Square while some of the domestic parcels were from California, and larger in size. Clerk Sean

O’Connor at East Burke, VT Post Office stated he did not see Tracy Baker mail any parcels from

00000229
Case 5:18-cr-00061-gwc Document 22-5 Filed 02/04/19 Page 14 of 19

East Burke but saw her ship parcels at other Post Offices in the area. O’Conner primarily works
at the North Concord, VT Post Office and occasionally will assist in other offices such as, but
not limited to Lyndonville, VT; and East Burke, VT. Postmaster Cote stated she never saw Sam
Bent but she saw a woman who identified herself as the sister of Tracy Baker’s boyfriend. The
woman was described as possibly African American. Cote informed Agent West that an
intemational parcel from Poland was delivered to P.O, Box 22 on March 19, 2018.

9. On March 23, 2018, Agent West, Inspector Miller, and I went to the East Burke,
VT Post Office and spoke with Clerk Rebecca Johnson. Johnson stated that she only saw Tracy
Baker once at the East Burke, VT Post Office.

10. J later received a call from Postmaster Carmen Riendeau of Orleans, VT Post
Office and was informed that Clerk Imre Bogar reported that on March 22, 2018, a woman
shipped eight parcels with fictitious return addresses. Clerk Bo gar identified the return addresses
as fictitious because he was aware the listed streets did not exist in the listed towns. The parcels
were shipped the previous night.

11. On March 26, 2018, Cote emailed me a picture of a parcel addressed to Djeneba
Bent being delivered to PO Box 22. I sent the information to Agent West, who then obtained a
DMV photo of Djeneba Bent. Agent West traveled to Orleans, VT Post Office and showed
Bogar the photo of Djeneba Bent. Bogar informed Agent West that he was 95 percent sure it
was the same female who had mailed the parcels on March 22, 2018.

12. On March 27, 2018, Agent West drove past 3585 Darling Hill Road, East Burke,
VT, and observed the trash at the roadside in a black receptacle. Agent West and I met at the
West Burke Town Office and went to the Lyndonville, VT Post Office and spoke to Clerk Lisa

Smith-Bean. After being shown the picture of Djeneba Bent, Smith-Bean stated that she thought

00000230
Case 5:18-cr-00061-gwc Document 22-5 Filed 02/04/19 Page 15 of 19

Djeneba Bent received international parcels at a PO Box in the past, but now she comes in about
once a month to mail out parcels.

13. Later that day Agent West and I met with an employee from the West Burke
recycling center. After verifying that the collection bay of the trash collection vehicle was
empty, Agent West accompanied the employee in his trash collection vehicle. I followed behind
the trash collection vehicle in my unmarked Law Enforcement Vehicle (LEV) and witnessed the
employee approach the black trash receptacle in front of the residence at 3585 Darling Hill Road,
East Burke, VT. The employee removed two trash bags from the receptacle and put them in the
empty collection bay of the truck. I then followed the truck approximately half a mile down the
toad and took possession of the trash. The trash collection vehicle made no additional stops after
collecting the trash from 3585 Darling Hill Road, East Burke, VT. Agent West then entered my
LEV, and I brought him back to his LEV, located at the West Burke Town Office. I followed
Agent West to the St. Johnsbury, VT State Police (VSP) barracks. Agent West and J examined
the contents of the two thrash bags and discovered, among other items, three rubber gloves, and
three opened shipping envelopes from Spain. One of the three envelopes was addressed to Sam
Bent at P.O. Box 22. A clear plastic baggie containing an unknown white residue was also
discovered. The baggie and residue were transported to the Vermont Forensic Laboratory for
testing.

14. On March 28, 2018, I emailed a photo of Djeneba Bent to Post Office Operation
Manager (POOM) Jerome Reen. I requested Reen disseminate the photo to various Postmasters
in the northern VT area, and to notify me if anyone saw her mailing parcels out of their Post

Offices. In response to my request, I was informed that Djeneba Bent reportedly mailed multiple

00000231
Case 5:18-cr-00061-gwc Document 22-5 Filed 02/04/19 Page 16 of 19

parcels from Littleton, NH; Danville, VT; West Burke, VT; Lower Waterford, VT: Lyndonville,
VT; and St. Johnsbury, VT.

15, Postmaster John Robie, of the Littleton, NH Post Office stated Djeneba Bent was
seen at the Littleton, NH Post Office the same day her picture was emailed out by Reen. She
mailed two Priority Mail boxes and “several” small manila envelopes. She used an address with
an incorrect zip code, and corrected it after the clerk alerted her of the error. She used the return
address of Wayne Switser, 46 Cottage Street, Littleton, NH 03561. She was seen driving a gray
Honda, RI plate number CN117. The Postmaster emailed me a picture of the parcels which were
shipped, and a picture he took of the license plate of the vehicle used by Djeneba Bent which
matched the one reported by Agent West seen on the Accord at 3585 Darling Hill Road, East
Burke, VT.

16. On March 29, 2018, I met Agent West at the East Burke, VT Post Office to
conduct an extended border search on two international parcels from Spain for P.O. Box 22.
Both parcels had stamps originating from Spain, and matched the appearance to the three opened
envelopes discovered in the trash of the Darling Hill Road residence on March 27, 2018. Both
parcels contained two vacuum sealed bags which contained a dark thick substance. The
evidence was secured and transported to the VSP Barracks in Derby, VT. The vacuum sealed
bags from one of the parcels weighed approximately 26.6 grams. It should be noted that the
vacuum sealed bags were marked in ink with “20” and “5”. Sergeant Sean Loan with the VSP
VT Drug Task Force ran multiple field tests on the substance. The substance tested positive for
heroin, and negative for Tetrahydrocannabinol (THC).

17. On March 29, 2018, Clerk Karen Rice of the Danville, Vermont Post Office,

emailed me to report that Djeneba Bent shipped six parcels at the Danville, VT Post Office that

00000232
Case 5:18-cr-00061-gwc Document 22-5 Filed 02/04/19 Page 17 of 19

day. These subject parcels are further described in Attachment A. The return address on all the
parcels was William Currier 462 Railroad St., Saint J ohnsbury, VT 05819. This return address
was familiar to law enforcement. According to Agent West, HSI in NY were conducting an
undercover investigation involving the online order and purchase using bitcoin, of approximately
$70 worth of Lysergic Acid Diethylamide (LSD). On March 13, 2018, in response to an order
placed by an undercover HSI agent as part of the investigation, Special Agents (SA) with HSI in
NY seized a mail parcel containing suspected LSD blotter paper tabs. The return address on the
label was William Currier 462 Railroad St., Saint Johnsbury, VT 05819.

18. Agent West contacted the U.S. Postal Service (USPS) Carrier for the route that
includes 462 Railroad Street who explained that he was unsure if a person named Currier lived at
the address. The Carrier explained that 462 Railroad Street is an apartment building, He further
explained that in the past, he has not delivered mail addressed to William Currier at 462 Railroad
Street because of his concerns that Currier does not live there.

19. On March 30, 2018, Lyndonville Postal Clerk Smith-Bean reported that Djeneba
Bent shipped two parcels from the Lyndonville, VT Post Office. Inspector Miller retrieved
parcels mailed by Djeneba Bent from Lyndonville, VT; Danville, VT; and West Burke, VT.
Inspector Miller also collected a parcel, which arrived at East Burke, VT Post Office for PO Box
22 in the name Sam Bent. All mentioned parcels are now being held at the Postal Inspection
Service Office, located at 8 New England Drive, Essex J unction, VT 05452.

20. Upon further investigation, it was discovered that at least some of the names and
addresses being used for the return addresses by Djeneba Bent belonged to individuals on the sex
offender registry. It is suspected that the names and addresses of sex offenders are used on the

return address to conceal her identity.

00000233
Case 5:18-cr-00061-gwc Document 22-5 Filed 02/04/19 Page 18 of 19

21. T also know from my training and experience the following:

a. Drug traffickers mailing controlled substances frequently use U.S. Postal
Service Priority Mail Express and Priority Mail services to ship unlawful controlled substances,
and the recipients of those unlawful drugs often use U.S. Postal Service Priority Mail Express
and Priority Mail services to ship the proceeds of the illegal sale of controlled substances. These
controlled substances and the proceeds of the illegal sale of controlled substances are often found
during parcel investigations and interdictions.

b, Drug traffickers use U.S. Postal Service Priority Mail Express and Priority
Mail services because of the reliability of delivery, speed of delivery, low cost, the customer’s
ability to track the package’s shipment online; as well as the low risk of detection by law
enforcement. Shippers using Priority Mail Express and Priority Mail services pay for the benefit
of being able to confirm the delivery of the parcel by checking the U.S. Postal Service internet
website or calling a toll free number.

Cc. Drug traffickers who mail controlled substances, and the drug purchasers
who send payment in the form of cash or other drugs, often use false or incomplete information
in labeling the parcels, as well as dated information. In this way, drug traffickers can distance
themselves from the package containing controlled substances or from the proceeds of the sale of
the controlled substances in the event the package is intercepted by law enforcement.

CONCLUSION
22. I respectfully submit that, pursuant to 18 U.S.C. § 3103a(b), there is “reasonable
cause to believe that providing immediate notification of the execution of the warrant may have
an adverse result.” Providing notice to the anticipated recipients of the Subject Parcels would

seriously jeopardize the ongoing investigation. Depending on the results of the search, law

00000234
Case 5:18-cr-00061-gwc Document 22-5 Filed 02/04/19 Page 19 of 19 ©

enforcement will be considering an undercover delivery of one or more of the packages, and the
possibility of additional search warrants. A disclosure would give subjects of the investigation
an opportunity to destroy evidence, change patterns of behavior, notify co-conspirators, conduct
financial transactions to hide assets, and/or flee from prosecution.

23. It is further requested that the Court authorize execution of this warrant at any
time of day or night, as the Subject Parcels are in law enforcement custody.

24. _ Based on the foregoing, I believe that there is probable cause to search the six

Subject Parcels for evidence or instrumentalities of violations of 21 U.S.C. §§ 841(a)(1) and 846.

Dated at Burlington, in the District of Vermont, this 3" day of April 2018.

JOWNAT. D
. Postal Inspector
Subscribed and sworn to before me this 3" day of April 2018.

LL PY.

ORIN M. CONROY “—~ .
United States Magistrate Judge

District of Vermont

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00000235
